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UNITED STATES DISTRICT COURT MIDDLE DISTRICT. OF F LORIDA 9
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FORT MYERS DIVISION =u. is ynict court

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MICHELLE J. SMITH, Plaintiff,

" CASE NO: ‘a3 tv ((R-JSES- VPM

THE BOSTON RED SOX,

Defendant.

COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, MICHELLE J. SMITH (hereinafter “Ms. Smith” or “Plaintiff’), hereby brings
this action against Defendant, The BOSTON RED SOx; (Hereinafter “Red Sox,” “the
Company;” or “Defendant”). In support of her claims, Plaintiff states as follows:

JURISDICTION AND VENUE

1. This is an action for damages; exclusive of interest, fees, and costs, and for
declaratory relief, for violations of Title VII of the Civil Rights Act of 1964,
as amended (“Title VII”), 42 U.S.C. § 2000e et seq., 42 U.S.C. 1981, Fraud,
Invasion of Privacy, Violation of Privacy Laws including General Data
Protection Regulation (GDPR), and the Florida Private Whistleblower’s Act
Section 448.102 , Florida Statutes (“FPWA”), due to Defendant’s unlawful
employment practices and actions.

2. This Court has jurisdiction of Plaintiff’s federal claims pursuant to 28 U.S.C.
§§ 1331 and 1343. This Court has supplemental jurisdiction over Plaintiff's
state law claims pursuant to 28 U.S.C. § 1367.

3. This Court has Jurisdiction under 28 U.S.C. section 1332, Diversity
Jurisdiction, as Plaintiff is a citizen of Florida, and Defendant is
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incorporated in Massachusetts, and the amount in controversary is more
than $75,000.

4. Venue is proper under 28 U.S.C. § 1391 because a substantial amount of
events giving rise to these claims occurred in Lee County, Florida, and
Defendant is a corporation with sufficient contacts in, and licensed to do
business in Lee County Florida.

PARTIES

5. Plaintiff is a resident of Fort Myers Florida.

6. Defendant, The Boston Red Sox, is a Massachusetts Corporation with its
principal Corporate Headquarters located at 4 Jersey St., Boston MA
02215.

7. Plaintiff sought employment with the Defendant at The Boston Red Sox’
Lee County FL facility named Jet Blue Park or “Fenway South”, 11500
Fenway South Dr., Fort Myers, FL. 33913.

GENERAL ALLEGATIONS

8. Plaintiff requests a jury trial for all issues so triable.

9. At all times material hereto, Plaintiff was an employee of Defendant within
the meaning of Title VII.

10. At all times material hereto, Defendant employed fifteen (15) or more
employees. Thus, Defendant is an “employer” within the meaning of Title
Vil and the FPWA, Fla. Stat. Section 448.102 (1).

FACTUAL ALLEGATIONS

11. Ms. Smith began her employment with the Company on January 04, 2020, and
last held the title of Fan and Youth Engagement Ambassador at Jet Blue Park and
Fenway Park. In this role, Ambassadors are responsible for creating a fantastic
and enjoyable experience by ensuring the highest standard of Fan Services. In this
role, Ms. Smith was responsible for interacting and engaging with Fans in a
positive and polite manner while encouraging them to become members of Red
Sox nation through Fan clubs.

12. On November 1, 2021, the Company announced that it was implementing a
policy requiring all salaried and hourly non-union employees in the Company to
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be fully vaccinated against COVID-19 by January 1, 2022, with exceptions as
required by law. The exemptions (disability, or religious) were due on Friday
November 19, 2021. A survey was sent out November 2, 2021 asking employees if
they were vaccinated or planning to be vaccinated.

13. Plaintiff Smith answered the survey on or around November 2, 2021, stating
that she was not vaccinated nor was she planning on getting vaccinated.

14. Plaintiff Smith immediately tried to contact Red Sox Human Resources
manager Ben Coakley ( hereinafter “Mr. Coakley”) on or around November 3,
2021 to find out the parameters for submitting a religious exemption request.
Defendant Coakley did not answer her call nor respond to her first message. After
repeated calls, Ms. Smith spoke to Mr. Coakley around November 8, 2021 about
her unvaccinated status and Mr. Coakley told Plaintiff Smith that her religious
exemption request was due back to him on November 19, 2021.

15. On November 18, 2021, Ms. Smith submitted her religious request supported
by a letter from her pastor, asking to be exempted from the Company’s
vaccination mandate based on sincerely held religious beliefs. In the request, Ms.
Smith wrote that she believed the mandated vaccine was contrary to biblical
teachings, her faith in God, and due to the vaccine being derived from aborted
fetal cells, her clear conscience conclusion based on God’s teachings was that the
vaccine is immoral and against her religious beliefs as a Roman Catholic.

16. Plaintiff Smith confirmed receipt of her religious exemption request with Ben
Coakley on November 19, 2021.

17. After confirmation of receipt, The Boston Red Sox ignored Ms. Smith’s
Religious Accommodation Request.

18. On November 18, 2021, Governor DeSantis signed into law House Bill HB-1B,
which became Florida Statute § 381.00317, also referred to as Florida’s Private
Employer Vaccine Mandate Program, a law prohibiting private employers from
enacting COVID-19 mandates for their employees without providing certain
enumerated exemptions. The statute provides in pertinent part:

A private employer may not impose a COVID-19 vaccination mandate for any
full-time, part-time, or contract employee without providing individual
exemptions that allow an employee to opt out of such requirement on the basis
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of medical reasons, including, but not limited to, pregnancy or anticipated
pregnancy; religious reasons; COVID-19 immunity; periodic testing; and the use
of employer-provided personal protective equipment...

This statute served to clarify and bolster the protections already afforded by Title
Vil.

19. Upon the enactment of this statute, and receipt of Plaintiff's completed
exemption request on November 18, 2021, Defendant should have immediately
granted Plaintiff her requested exemption to the vaccine mandate. However,
Defendant continued to violate the law.

20. On or about December 18, 2021, The Red Sox’ Executive Vice President of
Human Resources, Amy Waryas (hereinafter “Ms Waryas”), emailed Plaintiff
Smith stating that she had questions relating to Plaintiff Smith’s religious
exemption request. A phone call was set up for Tuesday December 21, 2021.

21. On December 21, 2021, Plaintiff was contacted via phone conference call by
Amy Waryas and Ben Coakley of Human Resources for The Boston Red Sox.

22. During the call Plaintiff Smith was informed of a vaccination survey that the
Red Sox sent out in May 2021. Defendant informed Plaintiff that the May survey
was a one question survey with a yes or no bubble, asking if an employee was
vaccinated to which Defendant claimed that the “yes” box was filled in on
Plaintiff's survey making Plaintiff's vaccination surveys in May and November
inconsistent.

23. When Plaintiff Smith was first told of the inconsistencies in the surveys on
December 21, 2021 by Human Resources VP Amy Waryas and Ben Coakley, she
was surprised and flustered because she did not have any recollection or record
of the May survey. However, because Plaintiff respects authority, she believed
The Red Sox when they told her that the “yes” box to being vaccinated was
checked on the May 2021 survey. Due to her belief in the integrity of the Red Sox
organization at the time, Ms. Smith offered the only plausible explanation of
inadvertently and accidently pressing the wrong box. With consideration of the
Red Sox’ knowledge of her Catholic religion values, Plaintiff Smith asked the Red
Sox to correct the incorrect data on the May survey and to be given the benefit of
the doubt, to no avail.
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24. On December 23, 2021, Ms. Waryas contacted Plaintiff via telephone and told
Ms. Smith that due to “inconsistent vaccination surveys and because the majority
of the Red Sox’ employees were vaccinated and Plaintiff was not, that vaccinated
employees would not want to be around Plaintiff’, The Red Sox were terminating
Plaintiff's employment.

25. Plaintiff was terminated by Ms. Waryas via telephone on December 23, 2021.

26. On December 24, 2021, in subsequent pleadings and correspondence
challenging the facts surrounding the surveys and the Red Sox actions, with Amy
Waryas, Plaintiff Smith suddenly noticed an email appear on her Red Sox email
dated May 13, 2021 from Ben Coakley. When Plaintiff asked Amy Waryas for an
explanation as to Ben Coakley’s manipulation of the Red Sox server, the email
disappeared, and Plaintiff was cut from the Red Sox server.

27.1t then occurred to Plaintiff Smith that if Ben Coakley could, would and did
manipulate the Red Sox server to make an email appear and disappear, he would
have no problem to manipulate the survey data to make Claimant Smith’s surveys
inconsistent.

28. In or around February 2022 Plaintiff Smith initiated a claim against the Boston
Red Sox with the Equal Employment Opportunity Commission Miami and Boston
District.

29. On April 15, 2022 the EEOC Boston office launched a complaint on Plaintiff's
behalf against the Boston Red Sox.

30. The EEOC claim is titled: Michelle J. Smith v. The Boston Red Sox
EEOC/ HUD Claim # 510-2022-02188.

31. On November 9, 2022, the EEOC issued Plaintiff a Determination and Notice of
Right to Sue letter, (attached).
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COUNT I

VIOLATION OF TITLE Vil OF THE CIVIL RIGHTS ACT OF 1964, EMPLOYMENT
DISCRIMINATION ON THE BASIS OF RELIGION (Failure to Accommodate)

32. Plaintiff realleges and readopts the allegations of paragraphs 1 through 31 as
though fully set forth herein.

33. Plaintiff is a member of a protected class under Title VII.

34. The denial of Plaintiffs request for religious accommodation and subsequent
termination were unlawful acts of discrimination and retaliation in violation of the
applicable provisions of Title Vil of the Civil Rights Act of 1964.

35.Defendant’s actions were willful and done with malice.
36.Plaintiff was injured due to Defendant's violations of Title VII,
for which Plaintiff is entitled to legal and injunctive relief.
WHEREFORE, Plaintiff demands:

(a) A jury trial on all issues so triable;

(b) That process issue and that this Court take jurisdiction over the case;
(c) An injunction restraining continued violation of Title Vil by Defendant;
(d) Compensation for lost wages, benefits, and other remuneration;

(e) Reinstatement of Plaintiff to a position comparable to Plaintiff's prior
position;

(f) Any other compensatory damages, including emotional distress,
allowable at law;

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7. (g) Prejudgment interest on all monetary recovery obtained.
. (h) All costs and attorney’s fees incurred in prosecuting these claims; and
9. (i) For such further relief as this Court deems just and equitable.

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COUNT Il
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VIOLATION OF TITLE Vil OF THE CIVIL RIGHTS ACT OF 1964, EMPLOYMENT
DISCRIMINATION ON THE BASIS OF RELIGION (Disparate Treatment)

37. Plaintiff realleges and readopts the allegations of paragraphs 1 through 31 as
though fully set forth herein.

38.Plaintiff is a member of a protected class under Title VII.

39.Defendant’s aforementioned conduct subjected Plaintiff to disparate
treatment based on her religion.

40. The disparate treatment to which Plaintiff was subjected based on her religion
evinces Defendant’s hostility towards persons of faith and constitutes unlawful
discrimination in violation of Title VII of the Civil Rights Act of 1964.

41.Defendant’s actions were willful and done with malice.
42.Plaintiff was injured due to Defendant’s violations of Title VII,

for which Plaintiff is entitled to legal and injunctive relief. WHEREFORE, Plaintiff
demands:

(a) Ajury trial on all issues so triable;

(b) That process issue and that this Court take jurisdiction over the case;
(c) An injunction restraining continued violation of Title VII by Defendant;
(d) Compensation for lost wages, benefits, and other remuneration;

(e} Reinstatement of Plaintiff to a position comparable to Plaintiffs prior
position;

(f) Any other compensatory damages, including emotional distress,
allowable at law;

. (g) Prejudgment interest on all monetary recovery obtained.

. (h) All costs and attorney’s fees incurred in prosecuting these claims; and
9. (i) For such further relief as this Court deems just and equitable.

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Count Ill
Fraud, Invasion of Privacy, Violation of Privacy Laws

43. Plaintiff realleges and readopts the allegations of paragraphs 1 through 31 as
though fully set forth herein.

44. Defendant’s conduct of manipulating their server indicates that they were
allegedly able to insert data to make the surveys inconsistent constituting fraud.

45. Defendant’s refusal to correct data upon request of Plaintiff(survey
participant), is in direct violation of The General Data Protection Regulations, and
Privacy Laws.

46.Defendant’s actions were willful and done with malice.
47.Plaintiff was injured due to Defendant’s violations of Title VII,

for which Plaintiff is entitled to legal and injunctive relief. WHEREFORE, Plaintiff
demands:

(a) A jury trial on all issues so triable;

(b) That process issue and that this Court take jurisdiction over the case;

(c) An injunction restraining continued violation of Title VIl by Defendant;

(d) Compensation for lost wages, benefits, and other remuneration;

(e) Reinstatement of Plaintiff to a position comparable to Plaintiffs prior

position;

6. (f) Any other compensatory damages, including emotional distress,
allowable at law;

7. (g) Prejudgment interest on all monetary recovery obtained.

(h) All costs and attorney’s fees incurred in prosecuting these claims; and

9. (i) For such further relief as this Court deems just and equitable.

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COUNT IV
VIOLATION OF THE FLORIDA PRIVATE WHISTLE-BLOWER’S ACT § 448.102 —
Florida Statutes

48. Plaintiff realleges and readopts the allegations of paragraphs 1 through 31 as
though fully set forth herein.
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49. Defendant is an employer with more than ten employees that conducts
business in the State of Florida and is therefore subject to the Florida Private
Whistle-blower Act.

50. Plaintiff worked for Defendant from January 4, 2020 through December 23,
2021.

51. During Ms. Smith’s employment with The Red Sox, she was a trusted,
hardworking employee that received frequent praise for the job she performed.

52. On or about November 18, 2021, Ms. Smith submitted a request to be
exempted from the Company’s vaccination mandate based on a sincerely held
religious belief.

53. On November 18, 2021, Governor DeSantis signed into law House Bill HB-1B,
which became Florida Statute § 381.00317, also referred to as Florida’s Private
Employer Vaccine Mandate Program.

54. Upon the enactment of this statute, Defendant should have granted Plaintiff
her requested exemption to the vaccine mandate. However, Defendant continued
to violate the law.

55. On December 21, 2022, Defendant finally acknowledged Ms. Smith’s Religious
exemption during a phone conference with senior EVP of Human Resources, Amy
Waryas, and Human Resources manager, Ben Coakley. Despite Ms. Waryas and
Mr. Coakley acknowledging Ms. Smith’s Religious Accommodation Request, Ms.
Waryas still denied Ms. Smith’s request and refused to treat Ms. Smith equally to
her coworkers.

56. All Red Sox employees did not complete both the May and November
vaccination surveys.

57. On December 23, 2021, Ms. Waryas terminated Ms. Smith’s employment.
58.The Red Sox had no legitimate reason to terminate Ms. Smith.

59.The Red Sox’ termination of Ms. Smith is clearly retaliation against her for
objecting to the COVID-19 vaccine mandate.
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60. As such it directly violates § 448.102 (3), Florida Statutes.

61.Therefore, Ms. Smith is entitled to compensatory damages

for her lost wages from the time of her termination until judgment is rendered.

62. Additionally, Section 448.08, Florida Statutes, allows a prevailing party to
collect reasonable attorney’s fees and costs in a claim for unpaid wages resulting
from FPWA retaliation.

WHEREFORE, Plaintiff, demands judgment against Defendant for the following:

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a) Declaration that defendant violated Florida Private Whistle-blower Act;
b) An injunction prohibiting defendant from further violations of the
Florida Private Whistle-blower Act;

. c) Reinstatement to her position;

d) Compensatory damages for mental anguish;

e) An award to plaintiff of backpay, including interest, reflecting her lost
wages and benefits, which resulted from defendant’s violations of the
Florida Whistle-blower Act;

and

f) Any other relief this Honorable Court deems appropriate.

DEMAND FOR TRIAL BY JURY

Plaintiff respectfully requests a trial by jury.

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Dated: January 30, 2023 /s/Michelle J. Smith
Michelle J. Smith
11872 Arbor Trace Dr.
Fort Myers, FL 33913
781-422-1045

mjsmith0O304@hotmail.com

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» U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Boston Area Office
15 New Dudbury St, Room 475
Boston, MA 02203
(617) 865-3670
Website:

DETERMINATION AND NOTICE OF RIGHTS
(This Notice replaces EEOC FORMS 161 & 161-A)

Issued On: 11/09/2022

To: Michelle J. Smith
11872 Arbor Trace Dr
FORT MYERS, FL 33913
Charge No: 510-2022-02188

. EEOC Representative and email: FENG AN
° Area Directort
Feng.An@EEOC.GOV

 

DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)

If you file suit, based on this charge, please send a copy of your court complaint to this office.

On behalf of the Commission,

Digitally Signed By:Timothy Riera
11/09/2022

Timothy Riera
Acting District Director
